Case 1:24-cr-00556-DEH   Document 61-1   Filed 11/18/24   Page 1 of 2




            EXHIBIT A
       Case 1:24-cr-00556-DEH                     Document 61-1                Filed 11/18/24            Page 2 of 2



      quinn emanuel trial lawyers | washington, dc
      1300 I Street NW, Suite 900, Washington, District of Columbia 20005-3314 | TEL (202) 538-8000 FAX (202) 538-8100




                                                                                                      WRITER'S DIRECT DIAL NO.
                                                                                                                (202) 538-8330

                                                                                                      WRITER'S EMAIL ADDRESS
                                                                                                 aviperry@quinnemanuel.com
October 14, 2024


Celia Cohen
Andrew Rohrbach
Hagan Scotten
Derek Wikstrom
Assistant U.S. Attorneys

Re:     United States v. Eric Adams, 24 Cr. 556 (DEH)

Dear Counsel,

Due process requires that disclosure of exculpatory and impeachment evidence be made in
sufficient time to permit the defendant to make effective use of that information at trial. See, e.g.,
United States v. Coppa, 267 F.3d 132, 144 (2d Cir. 2001). As you know, Mayor Adams is
exercising his right to a speedy trial and has requested a trial date as soon as February 2025. For
that reason, Mayor Adams requires all Brady and Giglio material now, so that he can investigate
and prepare for trial effectively. A disclosure closer to trial will not be “timely”—as required by
the Constitution, relevant caselaw, Judge Ho’s Standing Order, and the Justice Manual—and will
prejudice the Mayor’s ability to make effective use of the information at trial.

Accordingly, we request the immediate production of all Brady and Giglio material without
limitation. Moreover, while Mayor Adams has no obligation to identify specific Brady or Giglio
material that is subject to disclosure, we specifically request (1) final copies of all agreements
between Rana Abbasova and the government; (2) any draft agreements exchanged between the
government and Ms. Abbasova (including through her counsel); (3) the substance of any other
communications between the government and Ms. Abbasova (including through her counsel);
and (4) all evidence showing that Mayor Adams, directly or indirectly, was responsible for
reporting Ms. Abbasova to the New York City Department of Investigation.

Very truly yours,


Avi Perry

cc:     William Burck
        Alex Spiro
        John Bash

      quinn emanuel urquhart & sullivan, llp
      ABU DHABI | ATLANTA | AUSTIN | BEIJING | BERLIN | BOSTON | BRUSSELS | CHICAGO | DALLAS | DOHA | HAMBURG | HONG KONG | HOUSTON | LONDON |
      LOS ANGELES | MANNHEIM | MIAMI | MUNICH | NEUILLY-LA DEFENSE | NEW YORK | PARIS | PERTH | RIYADH | SALT LAKE CITY | SAN FRANCISCO |
      SEATTLE | SHANGHAI | SILICON VALLEY | SINGAPORE | STUTTGART | SYDNEY | TOKYO | WASHINGTON, DC | WILMINGTON | ZURICH
